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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                        *            CRIMINAL NO.     19-035

                v                                *            SECTION. '6H''

 BRIAN JONES                                     *
 alkla"Turk"
                                                 *

                                          *      *        *


                                        FACTUAL BASIS

       The defendant, Brian JONES, a/k/a "Turk," has agreed to plead guilty as charged to Counts

One, Two, and Three of the Second Superseding Indictment in this case, which charges the

defendant with Conspiracy to Possess with the Intent to Distribute and to Distribute cocaine base

and heroin, in violations    of Title 21, United     States Code, Sections 841(bXlXC) and 846;

Carjacking, in violation of Title 18, United States Code, Section 2119; and Discharging a Firearm

in Furtherance of Crime of Violence and a Drug Trafficking Crime, in violation of Title 18, United

States Code, Section   92a(c)(1)(A)(iii). Had this matter proceeded to trial, the government would

have proven beyond a reasonable doubt the allegations in the Second Superseding Indictment,

namely that the defendant committed the following crimes:

       In the fall of 2017, members of the Federal Bureau of Investigation's ("FBI") New Orleans

Gang Task Force ('NOGTF") began investigating the distribution of narcotics in the Hollygrove

neighborhood of New Orleans, located near the western boundary of Orleans Parish. The NOGTF

is a federal law enforcement team comprised of both FBI Special Agents and members of state

law enforcement agencies that investigates gang activity in the metropolitan New Orleans area.

       The NOGTF began to investigate and conduct surveillance in 2017 at a location known as

Mel's Food Store, at the intersection of Marks and General Ogden streets. Mel's Food Store had

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been operating since approximately 2015. The operator of the store was in the store daily, and was

in charge of all of the daily   aspects   of maintaining the store, including but not limited to

bookkeeping and security. Mel's was a bare-bones operation. It offered very few items for sale

outside of cigarettes, beer and cold drinks. It had many barren shelves, inoperable refrigerators, a

non-functioning deli area, and inoperable surveillance equipment. The operator allowed drug

dealers and neighborhood gangsters    to sell drugs and hang out in the store, and some of them

would post pictures to social media of drug dealers smoking marijuana and possessing firearms

from inside of the store.

       The International School of Louisiana's ("ISL") elementary school campus for grades

kindergarten through second grade was across Marks street from      Mel's. ISL is a public    school

that provides immersion language instruction for children in the metropolitan New Orleans area.

School administrators made multiple complaints to local law enforcement and city officials that

Mel's was the base of an open-air drug market operating across the street from their school.

Neighbors and property owners near Mel's made similar complaints. School administrators and

neighbors were ultimately interviewed by members of the NOGTF during the investigation.

       Following surveillance of suspected hand-to-hand transactions in the Eastside Hollygrove

neighborhood around Mel's Food Store, members of the NOGTF would follow the suspected

narcotics purchasers from the neighborhood. Frequently, cars leaving the area would return to the

direction of Jefferson Parish via Airline Highway. The NOGTF elected to conduct investigatory

stops on these vehicles. Officers conducted approximately 12 investigatory stops in this manner

and began interviewing the narcotics purchasers. From these interviews, agents learned the names

or nicknames of drug dealers, their phone numbers, what type of drugs were being sold, and at

what price the drugs were being sold. Agents then accessed law enforcement databases with this

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information to identify the suspected narcotics traffickers.

       ln 2017, Brian JONES, alkla "Turk," ("JONES") was one of the         drug-dealers from the

Hollygrove neighborhood who purchased and sold heroin and cocaine base around Mel's Food

Store. Two codefendants knew "Turk" as a younger drug dealer in the neighborhood.              One

codefendant stated "Turk" had approximately five customers a day and each customer purchased

about $50 worth of crack or heroin for approximately      ayear. Sometimes "Turk" would buy       an

"eightball" or an eighth of an ounce of heroin from a supplier for the day and then serve his

customers. JONES was a co-conspirator of the drug conspiracy described in Count One of the

Second Superseding Indictment.

                                Shooting audcariaetstue    dVtalilt 1
       JONES was from the Hollygrove neighborhood, but during the timeframe                  of   the

conspiracy, JONES was working and living in Jefferson Parish. Victim         I was from Jefferson
Parish and JONES sold drugs to     him. Victim I   became friends with JONES.

       On October 30,2017, in the early evening, JONES asked Victim 1 to help him move out

of an apartment in Metairie back to the Hollygrove neighborhood,        because JONES was being

evicted from his apartment. Victim      I   went to Metairie and helped JONES load his belongings

into Victim I's mother's car.

       During that same evening, Victim I received a call from K.B. and G.8., who had purchased

heroin from JONES earlier that day. However, the heroin JONES gave to K.B. and G.B. was fake

or bad. K.B. and G.B. knew Victim I was helping JONES move, and they asked for Victim I to

come   by.   When Victim   I   and JONES arrived to K.B.'s house, G.B. approached JONES about

JONES selling G.B. fake/bad heroin.

        When JONES got back in the vehicle with Victim 1, he began to argue with Victim      I about
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G.B's conduct.

                                                    J          then directed Victim   I   to the Hollygrove

neighborhood of New Orleans.

         Victim I then drove JONES to the intersection of Pear and Leonidas Streets, where JONES

told him to stop the car. They both exited the vehicle, and Victim              I opened the hatchback     to

retrieve JONES's belongings. Victim       I   then felt a strike to the back of his head and turned to see

JONES holding a firearm.      Victim I turned to run        and heard several gunshots, and then     fell into

aditch. JONES then approached Victim          1 and pressed the gun   into his back and fired the handgun

into Victim 1's spine, causing Victim I to become paralyzed. JONES then put the gun to Victim

l's   head and pulled the trigger, but for some reason no round fired from the handgun.

         JONES then took    Victim I's car keys out of Victim l's pants' pocket and told Victim              1



that "Yall pick the wrong day to fuck with         me." JONES then          entered and started   Victim l's

vehicle, and then purposely drove the vehicle over Victim             l's   legs and torso. Victim 1 was

severely injured: he was left permanently paralyzed, his right foot was severely injured, and he

also suffered multiple broken ribs.

         Victim l's vehicle was a 2012Honda Civic that was not manufactured in the State of

Louisiana and had been transported in interstate commerce before arriving in the Eastern District

of Louisiana.

         Around I I :30 p.m., members of the New Orleans Police Department responded to a 9l I

call for help from a witness located near the intersection of Pear and Leonidas Streets in the

Hollygrove neighborhood. Officers located Victim            I lying face down near the intersection with a
gunshot wound to the back. Victim     I   reported to the officers that "Turk" shot him and then stole

Victim l's mother's2012 Honda Civic.

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        JONES drove Victim         l's   mother's car, and then abandoned          it in the Hollygrove
neighborhood after spraying it with bleach and attempting to burn      it.   On November 8,2017, police

officers recovered the 2012 Honda Civic at the intersection of Hollygrove and Palmetto Streets in

the Hollygrove neighborhood.

        The quantities of drugs attributable or reasonably foreseeable to JONES were 20 to 40

grams of heroin and   l0 grams of cocaine base.



                                  Limited Nature of Factual Basis

        This proffer of evidence is not intended to constitute a complete statement of all facts

known by the government and/or Brian JONES. Rather,               it is a minimum     statement    of   facts

intended to prove the necessary factual predicate for his guilty plea. The limited purpose of this

proffer is to demonstrate that there exists a sufficient legal basis for the plea of guilty to the charged

offenses by JONES.




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       The above facts come from an investigation conducted by, and would be proven at trial

beyond a reasonable doubt by credible testimony from members of the New Orleans Police

Department, members of the Jefferson Parish Sheriff s Office, and Special Agents and forensic

examiners from the Federal Bureau     of Investigation, lay witnesses with personal knowledge of

these facts, and admissible, tangible exhibits in the custody of the FBI.




READ AND APPROVED:



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        Williams                       Idate]                                            t
Counsel for Brian JONES                               Assistant United States Attorney


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Brian JONES                            Idate]
Defendant.




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